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PROB 12C - (Rev. D/NM-8/2014)                                                                        5817793

                                  UNITED STATES DISTRICT COURT
                                             FOR THE
                                     DISTRICT OF NEW MEXICO

                        Amended Petition for Revocation of Supervised Release
Name of Offender:             Carlandrew Rolando Eriacho
Docket Number:                1084 1:18CR04166 -001JB
Assigned Judge:               Honorable James O. Browning, United States District Judge
Date of Original Sentence:    2019-06-13
Original Offense:             18 U.S.C. 1112: Crime in Indian Country: Involuntary Manslaughter
Original Sentence:            BOP: 37 Months; TSR: 36 Months
Date Supervision              03/14/2022
Recommenced:
Date Supervision Expires:     03/13/2023
Other Court Action:           07/23/2021: Memorandum filed requesting the offender’s residential reentry
                              condition be suspended. Court action still pending.

                                  09/27/2021: A Petition for Revocation with Warrant was filed after the
                                  offender failed to successfully complete a residential reentry center (RRC),
                                  absconded and failed to refrain from alcohol use. On March 2, 2022, the
                                  offender’s supervision was revoked, and he was sentenced to five months
                                  custody with 12 months of TSR to follow.

                                  06/28/2022: A Report on Offender Under Supervision was filed due to the
                                  offender providing a positive test for alcohol at the RRC. On July 11, 2022,
                                  the Court ordered no action.

                                  07/12/2022: A Petition for Revocation with summons was filed after the
                                  offender failed to successfully complete a residential reentry center (RRC).
                                  On July 26, 2022, the offender appeared for his Initial Appearance and was
                                  continued on previously imposed conditions pending his Revocation
                                  Hearing, which has been set for October 20, 2022.


                                       PETITIONING THE COURT

To issue a warrant.

U.S. Probation Officer of the Court, Karina L Villalobos, alleges the defendant has violated the following
condition(s) of supervised release.

Violation Type        Nature of Noncompliance


SPC                   You must reside in a residential reentry center for a term of four (4) months. You must
                      follow the rules and regulations of the center.
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                       On July 6, 2022, the United States Probation Office received notification the offender was
                       unsuccessfully terminated from Diersen Charities Residential Reentry Center (RRC) in
                       Albuquerque, NM. The offender was placed on a Zero Tolerance Contract on June 24,
                       2022, after providing a positive test for alcohol. On July 6, 2022, the assistant director
                       indicated the offender was found to have an unauthorized cell phone, loose razor blades
                       and admitted to taking Suboxone at his place of employment. As a result, of him violating
                       his Zero Tolerance Contract; he was unsuccessfully terminated from the RRC.



 AMENDED
 VIOLATIONS
 MC                    You must refrain from any unlawful use of a controlled substance. You must submit
                       to one drug test within 15 days of release from imprisonment and at least two periodic
                       drug tests thereafter, as determined by the court.

                       On June 20, 2022, the offender provided a positive urine sample for amphetamines. The
                       urine sample was submitted to Abbott Toxicology for confirmation and results yielded
                       positive for D-methamphetamines. The offender admitted to his United States Probation
                       Officer he was abusing illegal substances on several occasions while at the residential
                       reentry center.

                       On September 22, 2022, during a home visit, the offender admitted to his United States
                       Probation Officer he has been abusing marijuana. Moreover, he last smoked marijuana on
                       Monday, September 19, 2022.

 SPC                   You must not use or possess alcohol. You may be required to submit to alcohol testing
                       that may include urine testing, a remote alcohol testing system, and/or an alcohol
                       monitoring technology program to determine if you have used alcohol. Testing shall
                       not exceed more than 4 test(s) per day. You must not attempt to obstruct or tamper
                       with the testing methods. You may be required to pay all, or a portion, of the costs
                       of the testing.

                       On September 17, 2022, the offender provided a positive urine sample for ethyl
                       glucuronide, which is indicative for alcohol consumption. On September 22, 2022, the
                       offender admitted to his United States Probation Officer he has been consuming alcohol.
                       He indicated he last used alcohol on Monday, September 19, 2022.


The maximum statutory penalty: 24 months imprisonment; 31 months supervised release. Underlying Offense
is a Class D Felony.

The revocation range of imprisonment: 5 to 11 months. Criminal History Category III. Grade C Violation.

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 07/07/2022.




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Submitted:                                       Approved:                 ☒ Email Approval




Karina L Villalobos                              Kyle Nayback
U.S. Probation Officer                           (505) 346-6899
Cell #: 505-508-9334                             Assistant U.S. Attorney


                                                 Date: 09/22/2022




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